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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

D&B BOAT RENTALS, Inc.                   )
                                         )
      Plaintiff,                         )
                                         )      Civil Action No. 18-623
      v.                                 )
                                         )      Section “B” (5)
UNITED STATES OF AMERICA,                )
NATIONAL POLLUTION FUNDS                 )      Hon. Ivan L.R. Lemelle
CENTER and AMERICAN                      )
POLLUTION CONTROL CORP.                  )      Hon. Michael B. North
                                         )
      Defendants.                        )

           FEDERAL DEFENDANTS’ MEMORANDUM IN SUPPORT

                              Summary of the Argument

      On May 28, 2013, the OSV RICKY B, owned by Plaintiff D&B Boat Rentals, Inc.

(D&B), was operating offshore in the Gulf of Mexico when it began to take on water. On

May 29, the crew was forced to abandon the vessel, which they did safely. On May 30,

the RICKY B sank to the bottom as it was being towed toward shore. D&B hired

contractors to prevent fuel oil from leaking from the vessel into the ocean, to monitor the

wreck, and to salvage it. One of those contractors, American Pollution Control Corporation

(AMPOL), was not paid in full. AMPOL filed a claim with the U.S. Coast Guard National

Pollution Funds Center (NPFC) seeking the remainder, which the NPFC did pay.

      The NPFC demanded from D&B reimbursement of the amount that the NPFC had

paid to AMPOL, $75,859, plus $2,204 in Coast Guard costs, for a total of $78,063. See

ECF No. 9 (First Am. Compl.) ¶ 12 (“In February of 2017, the United States of America
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through the NPFC sought reimbursement from D&B and its underwriters for the amounts

paid to AMPOL.”); ¶ 16 (“On February 24, 2017, the United States of America, through

the NPFC, sent correspondence to D&B demanding reimbursement of the amounts the

United States of America, through the NPFC, paid to AMPOL.”). The NPFC made the

demand pursuant to Section 2702 of the Oil Pollution Act of 1990 (OPA). See 33 U.S.C.

§ 2702 (rendering “each responsible party for a vessel or a facility from which oil is

discharged, or which poses the substantial threat of a discharge of oil, into or upon the

navigable waters . . . liable for the removal costs and damages . . . .”).

       D&B brings suit to obtain a declaratory judgment holding that the United States is

time-barred from pursuing any recovery against it. See ECF No. 9 (First Amended Compl.)

¶ 23 (“D&B asks this Court for judgment, holding that the United States of America is

time-barred from proceeding against D&B or its underwriters by the three-year statutory

limitation in 33 U.S.C. § 2717(f)(4).”).

       D&B is correct insofar as judicial action is concerned, though no such action is

contemplated. The United States can, however, pursue an administrative recovery against

D&B, which is all that the NPFC seeks to accomplish. The Supreme Court spoke to this

issue in BP Am. Prod. Co. v. Burton, 549 U.S. 84, 93 (2006), holding that “the fact that the

statute of limitations bars a government suit to collect an amount due to it does not bar the

government from invoking its administrative remedies to offset the indebtedness against

other claims by the debtor.” In other words, the NPFC can refer the debt to the U.S.

Department of Treasury, which may take an offset against any sum otherwise payable by

the federal government to D&B.

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       D&B alleges that the Declaratory Judgment Act and OPA waive the federal

government’s sovereign immunity.         But, as will be shown, neither statute does.

Accordingly, the United States moves for dismissal of D&B’s claims. And although D&B

does not explicitly identify the Administrative Procedure Act (APA), the APA may waive

sovereign immunity in this case. Stated another way, the NPFC’s decisions to pay

AMPOL’s claim and to seek reimbursement from D&B are agency actions reviewable, if

at all, under the APA. Indeed, D&B seems to reference the APA’s standard of review

when it contends that the NPFC acted in an “arbitrary and capricious” manner by paying

claimant AMPOL. See ECF No. 9 (First Am. Compl.) ¶¶ 17 & 24. D&B further argues

that the NPFC’s determination, which led to that payment, violated D&B’s due process

rights. Id. ¶¶ 17 & 25. Unsurprisingly, the United States believes the payment was proper.

       Be that as it may, the United States moves for dismissal under Federal Rule of Civil

Procedure 12(b)(1) and Rule 12(b)(6). Neither the Declaratory Judgment Act, nor OPA,

waive sovereign immunity here.

                                       Background

I.     The Sinking and Salvage of the OSV RICKY B

       This is not the first case to arise from the May 29, 2013 sinking of the OSV

RICKY B. D&B and its insurer, Lloyd’s Syndicate 1861, unsuccessfully sued Crosby

Tugs, L.L.C., to recoup costs associated with lifting the RICKY B from the bottom of the

Gulf of Mexico. See Lloyd’s Syndicate 1861 & D&B Boat Rentals, Inc. v. Crosby Tugs,

L.L.C., No. 14-30888, (5th Cir. Apr. 21, 2015) (per curiam), ECF No. 00513013120

(affirming this Court’s decision in that case). As a result, there are few, if any, facts in

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dispute. D&B Boat Rentals, Inc., a Lafayette, Louisiana company, owned the RICKY B,

a steel-hulled offshore supply vessel built in 1981. Lloyd’s Syndicate 1861, No. 13-5551

(E.D. La.), ECF No. 70 (Findings of Fact (FoF) & Conclusions of Law (CoL)) at 1-2.

Louisiana Marine Operators operated the vessel. Id. at 4.

      On May 28, 2013, the RICKY B was servicing drilling platforms in the Gulf of

Mexico. Id. at 3. The vessel began to take on water through the starboard stuffing box.1

Id. The next day, May 29, the RICKY B e-mailed Louisiana Marine Operators to advise

that the vessel was in the Vermillion Block 171 area, that the engine room was flooded,

and that the vessel was sinking. Id. at 4. As the condition of the vessel continued to

deteriorate, a distress call was made to the Coast Guard. Id. at 4-5. A nearby vessel came

to assist, took the crew off, and deposited them on a nearby manned oil platform. Lloyd’s

Syndicate 1861, ECF No. 45 (Pls.’ Proposed FoF & CoL) ¶ 9.

      Early on May 30, a vessel called “[t]he DELTA FORCE began towing the RICKY B

toward Morgan City, in the direction of shallower waters.” Lloyd’s Syndicate 1861, ECF

No. 70 (FoF & CoL) at 14. The flotilla had covered about thirteen miles when the

RICKY B succumbed and sank completely. See Lloyd’s Syndicate 1861, No. 14-30888,

ECF No. 00513013120 at 2. As mentioned, the RICKY B’s owners and underwriters hired

several contractors to prevent fuel from leaking from the vessel into the ocean, to monitor

the wreck, and to salvage it. See ECF No. 9 (First Am. Compl.) ¶ 2 (“The owners of the

M/V RICKY B, D&B Boat Rentals, L.L.C., and its underwriters, engaged multiple


      1
        A stuffing box seals a vessel’s propeller shaft where it enters the hull, keeping
water out while allowing the shaft to turn.
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companies to address the sinking, including removing the vessel and monitoring for

pollution.”).

        D&B contracted with AMPOL “to provide pollution response and security” and “to

monitor the wreck of the M/V RICKY B for pollution.” Id. ¶¶ 3-4. Afterward, “AMPOL

presented $240,488.51 in invoices to D&B and its underwriters, of which D&B and its

underwriters paid $164,629.51.” Id. ¶ 8. According to D&B, the short-payment was

warranted because AMPOL “did not stay at the wreck of the M/V RICKY B,” id. ¶ 5, and

“it failed to mark the M/V RICKY B adequately.” Id. ¶ 6. D&B contends that, as a result,

“D&B and D&B’s underwriters were required to expend additional funds to locate the M/V

RICKY B because of AMPOL’s failures.” Id. ¶ 7.

II.     Agency Action

        AMPOL submitted a claim to the NPFC seeking reimbursement for its

uncompensated removal costs. See ECF No. 9 (First Am. Compl.) ¶ 10 (“AMPOL

submitted its unpaid invoices to the United States of America through the National

Pollution Funds Center (NPFC).”). After review of the claim, D&B’s comments, and other

materials, the NPFC approved AMPOL’s claim. See id. ¶ 11 (“On April 29, 2014, the

United States of America through the NPFC approved AMPOL’s claim.”).

        Almost three years later, the NPFC issued a Notice of Potential Liability, which

identified D&B as the owner or operator of the RICKY B and stated that D&B may be

liable for the resulting removal costs and damages. See id. ¶ 12 (“In February of 2017, the

United States of America through the NPFC sought reimbursement from D&B and its

underwriters for the amounts paid to AMPOL.”); ¶ 16 (“On February 24, 2017, the United

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States of America, through the NPFC, sent correspondence to D&B demanding

reimbursement of the amounts the United States of America, through the NPFC, paid to

AMPOL.”).

       D&B disputed the NPFC’s request for payment, setting forth its arguments in detail.

See ECF No. 9 (First Am. Compl.) ¶ 17 (“On August 7, 2017, after receiving the claims

file through a Freedom of Information Act (FOIA) request, D&B and its underwriters sent

correspondence to the United States of America through the NPFC outlining why the

NPFC’s determination to pay AMPOL was arbitrary and capricious, why it lacked due

process, and why it was time-barred.”).

       Two days later, the NPFC sent D&B a letter advising that the NPFC would reassess

its determinations in light of the concerns raised and stating that the agency would perform

an administrative review of its debt determination. That review followed, with the NPFC

affirming its original decision. See id. ¶ 18 (“On December 20, 2017, the United States of

America, through the NPFC, responded and indicated its ‘determination is that NPFC

invoice 914014-001-17 dated August 3, 2017, is valid and owing.”).

                                          Discussion

I.     Standard of Review

       Federal courts are of limited jurisdiction. See Kokkonen v. Guardian Life Ins. Co.

of Am., 511 U.S. 375, 377 (1994); Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir.

2001). One who invokes the jurisdiction of a federal court must be able to successfully

defend the invocation. See Dow Agrosciences, LLC v. Bates, 332 F.3d 323, 326 (5th Cir.

2003). D&B’s complaint, though it hints at the APA’s applicability in using the words

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“arbitrary and capricious,” see ECF No. 9 (First Am. Compl.) ¶¶ 17 & 24, does not actually

identify the APA as a waiver of sovereign immunity.

       A.     Rule 12(b)(1) Motion to Dismiss

       As discussed below, neither OPA, nor the Declaratory Judgment Act, vest the Court

with subject matter jurisdiction. When a court appears to lack statutory or constitutional

power to adjudicate a case, an opposing party may move to dismiss the cause under Rule

12(b)(1). See Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010

(5th Cir. 1998).

       When, as here, a Rule 12(b)(1) motion is filed in conjunction with another Rule 12

motion, the court should first consider the Rule 12(b)(1) jurisdictional attack.        See

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (citing Hitt v. City of

Pasadena, 561 F.2d 606, 608 (5th Cir. 1977)).

       B.     Rule 12(b)(6) Motion to Dismiss

       A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of a complaint.

A district court should not dismiss a complaint under Rule 12(b)(6) unless it appears

beyond doubt that the plaintiff can prove no set of facts in support of its claim that would

entitle it to relief. See Bombardier Aerospace Employee Welfare Benefits Plan v. Ferrer,

Poirot & Wansbrough, 354 F.3d 348, 351 (5th Cir. 2003).

       “As a practical matter, a 12(b)(6) dismissal should only be granted where a plaintiff

pleads himself out of court on the face of the complaint.” Najar v. Chertoff, No. 9:07-cv-

150-TH, 2008 WL 11347939, at *4 (S.D. Tex. Mar. 31, 2008) (citing 2 Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure § 1357). Here, Plaintiff D&B

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does exactly that. D&B describes agency action by the NPFC, cites two statutes that do

not waive sovereign immunity, and yet fails to identify the APA, which may.

II.     Neither the Oil Pollution Act of 1990, nor the Declaratory Judgment Act,
        Waive the United States’ Sovereign Immunity

        The United States is immune from suit absent a valid waiver of sovereign immunity.

See FDIC v. Meyer, 510 U.S. 471, 475 (1994) (any claim for which sovereign immunity

has not been waived must be dismissed for lack of jurisdiction); Shanbaum v. United States,

32 F.3d 180, 182 (5th Cir. 1994) (“The United States may not be sued except to the extent

that it has consented to such by statute.”). Waivers of the federal government’s immunity

must be unequivocally expressed in statutory text and cannot be implied or inferred. See

Dep’t of Energy v. Ohio, 503 U.S. 607, 615 (1992).

        A.    The Oil Pollution Act of 1990

        D&B identifies the Oil Pollution Act of 1990 (OPA), 33 U.S.C. §§ 2701-62, and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, as applicable waivers of sovereign

immunity. See ECF No. 9 (First Am. Compl.) ¶ 19 (“D&B brings this action under

28 U.S.C. § 2201, the declaratory judgment act.”); ¶ 20 (“This Court has subject matter

jurisdiction because the controversy in question involves the United States government,

and under the Oil Pollution Act.”). These assertions are misplaced.

        OPA provides that “the United States district courts shall have exclusive original

jurisdiction over all controversies under this Act.” 33 U.S.C. § 2717(b). But the mere

placement of original jurisdiction in the federal district courts does not waive the United

States’ immunity. See Voluntary Purchasing Groups, Inc. v. Reilly, 889 F.2d 1380, 1385


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(5th Cir. 1989) (although Section 113 of CERCLA grants the United States district courts

original jurisdiction over all controversies arising under CERCLA, it contains no general

waiver of the United States’ sovereign immunity); Int’l Marine Carriers v. Oil Spill

Liability Trust Fund, 903 F. Supp. 1097, 1101 (S.D. Tex. 1994) (OPA section 1017(b) is

merely a “grant of original jurisdiction; it does not provide for judicial review of claims

against the Fund.”); Rick Franklin Corp. v. U.S. Dep’t of Homeland Sec., No. 06-1647-SU,

2008 WL 337978, at *3 (D. Or. Feb. 4, 2008) (“The OPA does not contain a waiver of the

government’s sovereign immunity from suit.”).

       B.     The Declaratory Judgment Act

       Likewise, the Court lacks jurisdiction over D&B’s claims under the Declaratory

Judgment Act. 28 U.S.C. §§ 2201-02. That Act simply authorizes a federal court to grant

declaratory relief where subject matter jurisdiction, a waiver of sovereign immunity, and a

cause of action are otherwise established. See Skelly Oil Co. v. Phillips Petroleum Co.,

339 U.S. 667, 671-72 (1950) (Declaratory Judgment Act does not provide a “right of

entrance to federal courts”); Anderson v. United States, 229 F.2d 675, 677 (5th Cir. 1956)

(Declaratory Judgment Act does not operate as a waiver of sovereign immunity).

       Even if the Court were inclined to enter a declaratory judgment, it would not be the

kind of judgment that D&B wants. The declaration that D&B seeks is improper because it

would misstate the law. Simply put, an administrative recovery is not subject to a statute

of limitations. See 31 U.S.C. § 3716(e)(1) (“Notwithstanding any other provision of law,

regulation, or administrative limitation, no limitation on the period within which an offset

may be initiated or taken pursuant to this section shall be effective.”) (emphasis added);

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31 C.F.R. § 285.5(d)(3)(v) (debt can be collected through centralized offset “irrespective

of the amount of time the debt has been outstanding). See also BP Am. Prod. Co. v. Burton,

549 U.S. 84, 96-99 (2006) (statutory limit on a judicial remedy does not preclude non-

judicial, administrative remedy); United States v. Moriarity, 8 F.3d 329, 334 (6th Cir.

1993) (“[A]lthough the United States may be precluded by the applicable statute of

limitations from bringing an action for money damages, it continues to have a ‘right to

payment’ against the debtor in this case and thus may enforce that right in other ways.”);

Thomas v. Bennett, 856 F.2d 1165, 1169 (8th Cir. 1988) (the statute of limitations in

28 U.S.C. § 2415(a) “merely eliminates one potential remedy” to collect a debt).

       Based on the foregoing, the government moves for dismissal of D&B’s claims based

on OPA and the Declaratory Judgment Act. Neither statute waives sovereign immunity,

and in relying on them D&B fails to state a claim on which relief can be granted. See Fed.

R. Civ. P. 12(b)(1) (lack of subject matter jurisdiction) & 12(b)(6) (failure to state a claim

upon which relief can be granted).

                                        Conclusion

       As neither the Oil Pollution Act of 1990 nor the Declaratory Judgment Act waive

sovereign immunity, the government respectfully moves for dismissal of D&B’s claims.




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Date: June 15, 2018

                                   Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       It is hereby certified that on June 15, 2018, a copy of the foregoing was filed

electronically with the Clerk of the Court to be served by operation of the Court’s electronic

filing system upon the following:

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